AO 106 (Rev 04110) Application for a Search Warrant


                                                                                                        _EILED IN UNITED :~.TAT[S DISTRICT
                                      UNITED STATES DISTRICT COURT COURT, DIST!~: . ~f UTAH
                                                                      for the
                                                                District of Utah
                                                                                                                      JAN O7 LUZU
                                                                                                            D.MAAKJONES,CLERK
              In the Matter of the Search of                                                              BY
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         (Briefly describe the property to be searched
          or identify the person by name and address)
                                                                        )
                                                                        )          Case No.   Y: ·)-O nj            -cD065
 BLACK MOTOROLA CELL PHONE WITH NUMBER                                  )
              435-375-1600                                              )
                                                                        )

                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See attached Affidavit
located in the                                    District of               Utah                 , there is now concealed (identify the
                                                                -----------
person or describe the property to be seized):

 See attached Affidavit

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 rt
                  evidence of a crime;
                 rt
                  contraband, fruits of crime, or other items illegally possessed;
                 ~ property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                          Offense Description
        21 U.S.C 841(a)                            Possession of a Controlled Substance with Intent to Distribute

          The application is based on these facts:
        See attached Affidavit

           Cl Continued on the attached sheet.
           ~ Delayed notice of ~~Q__ days (give exact ending date if more than 30 days: 04/06/2020 ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                                       Brady Wilson, DEA Special Agent
                                                                                                Printe name and title

Sworn to before me and signed in my presence.

Date:            04/07/2020

City and state: St. George, Utah                                                              Kohler, U.S. Magistrate Judge
                                                                                                Printed name and title
JOHN W. HUBER, United States Attorney (#7226)                                 FILED IN UNITED STATES DISTRICT
STEPHEN P. DENT, Assistant United States Attorney (DC 1034263)                    COURT, DISTRICT OF UTAH
Attorneys for the United States
20 North Main Street, Suite 208                                                          JAN O7 2020
St. George, Utah 84 770                                                         D.MARKJONES,CLERK
Telephone: (435) 634-4265                                                     BY
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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH

IN THE MATTER OF THE APPLICATION
OF THE UNITED STATES OF AMERICA
TO SEARCH A BLACK MOTOROLA CELL
                                                   Filed Under Seal
PHONE WITH NUMBER 435-375-1600

                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Brady Wilson, a Special Agent (SA) with the Drug Enforcement Administration, being
duly sworn, depose and state as follows:
                I.   AFFIANT'S BACKGROUND AND QUALIFICATIONS
       1.      I am a Special Agent (SA) of the Drug Enforcement Administration (DEA) and
have been so employed since February 5, 2010. I am an "investigative or law enforcement
officer of the United States" within the meaning of Title 18, United States Code, Section
2510(7). I am currently assigned to the St. George, Utah Post of Duty. I graduated from Seattle
University School of Law with a Juris Doctor and worked as a Deputy Prosecuting Attorney at
the Pierce County Prosecutor's Office in Tacoma, Washington prior to my employment with
DEA. I attended and graduated the DEA Office of Training, Basic Agent Training Program
where I received approximately 650 hours of specialized drug related investigative training. This
training included drug identification, drug related investigative techniques, interview and
interrogation training, preparation and execution of search warrants, tactical application of drug
enforcement, surveillance and electronic monitoring techniques, money laundering
investigations, and asset identification and forfeiture. In my capacity as a Special Agent, I
conduct investigations of the Controlled Substances Act, that is, Title 21, United States Code,
Sections 841, et seq., and related offenses. I have participated in numerous drug and money
laundering investigations which have involved the use of a variety of law enforcement
techniques, including the use of confidential sources and undercover officers, physical
surveillance, electronic surveillance, wire surveillance, pen register and telephone toll analysis,
Title III intercepts, investigative interviews, the preparation and service of search and arrest
warrants, reviews of taped conversations, and the review of records commonly associated with
drug traffickers and money launderers.
       2.       During my career, I have investigated numerous types of criminal offenses.
These investigations have included the unlawful importation, possession with intent to distribute,
and distribution of controlled substances; the related laundering of monetary instruments; the
conducting of monetary transactions involving the proceeds of specified unlawful activities; and
conspiracies associated with criminal narcotics offenses. These investigations have utilized the
following investigative techniques: the use of sources, undercover agents, the analysis of pen
register, trap and trace, and toll records, physical surveillance, and the execution of search
warrants. I have planned, participated in, and supervised the execution of dozens of search
warrants authorizing the search of locations associated with drug traffickers and their co-
conspirators, such as residences, businesses, storage facilities, outbuildings, safety deposit boxes,
and vehicles.
        3.      I have also drafted multiple federal affidavits, have testified in grand jury
proceedings, and have written investigative reports. These investigations resulted in numerous
state and federal prosecutions of persons who have possessed, imported, or distributed controlled
substances, as well as the seizure of illegal drugs and the proceeds from the sale of those drugs. I
have also interviewed defendants at the time of their arrest and have debriefed, spoken with, or
interviewed numerous drug dealers or confidential sources at proffer and safety valve interviews.
From these interviews, and from discussions with other experienced agents, I have gained
knowledge regarding the various methods, techniques, codes, and/or jargon used by drug
traffickers in the course of their criminal activities, including their use of firearms to protect their
narcotics related activities and of cellular telephones, pagers, and personal digital assistants to
facilitate communications while avoiding law enforcement scrutiny. By virtue of my training
and experience, and my interactions with other experienced agents who conduct drug
investigations, I am familiar with the methods used by drug traffickers to: (1) import, transport,
store, safeguard, and distribute drugs; (2) collect, transport, store, safeguard, remit, and/or
launder drug proceeds; (3) obtain and utilize telephones, computers, and other devices in order to
communicate with each other, as well as the jargon and/or codes commonly used when they refer


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to drugs and/or drug proceeds. I also have examined documentation of various methods in which
illicit drugs are smuggled, transported, and distributed. I have had discussions with other law
enforcement officers and cooperating individuals about the packaging and preparation of
narcotics, methods of operation, and security measures that are often employed by narcotics
traffickers. As a result of my experience, I have become familiar with the day to day operations
and the various tools, methods, trends, paraphernalia and related articles utilized by various
traffickers in their efforts to manufacture, possess, import, conceal, package, use, and distribute
controlled substances.
                                II.      PURPOSE OF AFFIDAVIT
       4.      This affidavit is submitted in support of a Search Warrant authorizing the search
and collection of data from the following cellular telephone:
               A black Motorola Cell Phone. This is a cellular telephone that was recovered
               following a traffic stop of Coby Gordon in Washington County, Utah on January
               6, 2020. Pursuant to that traffic stop, investigators recovered over 100 grams of
               suspected crystal methamphetamine and over 200 grams of suspected heroin in
               the vehicle where the phone was located. The black Motorola Cell Phone is
               currently secured in evidence in St. George, Utah. As described below,
               investigators believe the black Motorola Cell Phone was being utilized by
               Gordon in furtherance of a drug trafficking conspiracy in which he was actively
               involved.

        5.     Since this affidavit is being submitted for the limited purpose of obtaining
authority to search the Subject Telephone, I have not included every fact known concerning this
investigation. I have set forth only the facts that I believe are essential for a fair determination of
probable cause for the requested search warrant.
                                      III.   PROBABLE CAUSE

       6.      On January 6, 2019, Washington County Drug Task Force Detective Brett Gibson
applied for and obtained an order authorizing search of 1) a storage unit located at 810 N. 1080
E., unit# 16, St. George, Utah (4:20-mj-00001 ); 2) the basement apartment located at 411 N. 300
W., St. George, Utah (4:20-mj-00002); and 3) a 2000 blue Audi A4 with Utah License 5E9AU
(4:20-mj-00003), each associated with an investigation into the drug trafficking of Coby Gordon
covering the last several months. The orders were authorized by federal Magistrate Judge Paul
Kohler on January 6, 2020. In the evening of January 6, 2020, investigators executed those




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warrants after Gordon was stopped by investigators in Washington County, Utah in the Audi
shortly after returning from Las Vegas, Nevada.
         7.      Pursuant to a search of the Audi executed shortly after Gordon drove it back from
Las Vegas, investigators located over 100 grams of a white crystalline substance that field tested
positive for methamphetamine and over 200 grams of a black-tar substance that field tested
positive heroin in the Audi. There were no passengers in the Audi and investigators located the
black Motorola Cell Phone on Gordon's person.
         8.          Investigators also located illegal drugs and one firearm in Gordon's bedroom at
the basement apartment pursuant to the execution of the search warrant and located illegal drugs
and three other firearms (one was determined to be stolen) in the storage unit pursuant to the
execution of the search warrant there.
         9.          Gordon later provided information in an interview in which he described using the
black Motorola Cell Phone to arrange with his source(s) of Supply to obtain illegal drugs and
used the black Motorola Cell Phone to arrange the redistribution of those illegal drugs with his
buyers in Washington County, Utah. Gordon admitted to regularly buying and selling illegal
drugs.
                V.       KNOWLEDGE BASED ON TRAINING AND EXPERIENCE

         I 0.        Based upon my training and experience, and conversations with, and training
 from, other officers and agents involved in narcotics investigations, I know the following:
             a. Drug dealers use cellular telephones as a tool or instrumentality in committing
their criminal activity. They use them to maintain contact with their suppliers, distributors, and
customers. They prefer cellular telephones because, first, they can be purchased without the
location and personal information that land lines require. Second, they can be easily carried to
permit the user maximum flexibility in meeting associates, avoiding police surveillance, and
traveling to obtain or distribute drugs. Third, they can be passed between members of a drug
conspiracy to allow substitution when one member leaves the area temporarily. Since cellular
phone use became widespread, every drug dealer I have contacted has used one or more cellular
telephones for his or her drug business. I also know that it is common for drug traffickers to
retain in their possession phones that they previously used, but have discontinued actively using,
for their drug trafficking business. Based on my training and experience, the data maintained in a
cellular telephone used by a drug dealer is evidence of a crime or crimes. This includes the
following:
                  1.     The assigned number to the cellular telephone (known as the mobile
 directory number or MDN), and the identifying telephone serial number (Electronic Serial
 Number, or ESN), (Mobile Identification Number, or MIN), (International Mobile Subscriber
 Identity, or IMSI), or (International Mobile Equipment Identity, or IMEi) are important evidence
 because they reveal the service provider, allow us to obtain subscriber information, and uniquely

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identify the telephone. This information can be used to obtain toll records, to identify contacts
by this telephone with other cellular telephones used by co-conspirators, to identify other
telephones used by the same subscriber or purchased as part of a package, and to confirm if the
telephone was contacted by a cooperating source.
                 2.     The stored list of recent received, missed, and sent calls is important
evidence. It identifies telephones recently in contact with the telephone user. This is valuable
information in a drug investigation because it will identify telephones used by other members of
the organization, such as suppliers, distributors and customers, and it confirms the date and time
of contacts. If the user is under surveillance, it identifies what number he called during or
around the time of a drug transaction or surveilled meeting. Even if a contact involves a
telephone user not part of the conspiracy, the information is helpful (and thus is evidence)
because it leads to friends and associates of the user who can identify the user, help locate the
user, and provide information about the user. Identifying a defendant's law-abiding friends is
often just as useful as identifying his drug-trafficking associates.
                 3.      Stored text messages are important evidence, similar to stored numbers.
Agents can identify both drug associates, and friends of the user who likely have helpful
information about the user, his location, and his activities.
                 4.      Photographs on a cellular telephone are evidence because they help
identify the user, either through his or her own picture, or through pictures of friends, family, and
associates that can identify the user. Pictures also identify associates likely to be members of the
drug trafficking organization. Some drug dealers photograph groups of associates, sometimes
posing with weapons and showing identifiable gang signs. Also, digital photos often have
embedded "geocode" or GPS information embedded in them. Geocode information is typically
the longitude and latitude where the photo was taken. Showing where the photo was taken can
have evidentiary value. This location information is helpful because, for example, it can show
where coconspirators meet, where they travel, and where assets might be located.
                 5.      Stored address records are important evidence because they show the
user's close associates and family members, and they contain names and nicknames connected to
phone numbers that can be used to identify suspects.

                                       V.     CONCLUSION

        11.    Based on the foregoing, I respectfully submit there is probable cause to believe
that the black Motorola Cell Phone that was recovered as part of the traffic stop and recovery
of a relatively large amount of crystal methamphetamine and heroin was used in furtherance of
narcotics trafficking, and that the information sought herein will materially aid the investigation.
        12.     I further believe that information concerning the aforementioned offenses will be
obtained by searching and collecting the data from the black Motorola Cell Phone, as it will
assist investigators in understanding connections between already known people and places
involved in the conspiracy, and assist in identifying currently unidentified targets.
        13.     We are in the middle stages of this investigation and believe that the investigation
will ultimately lead us to other jurisdictions. I also believe that the investigation will ultimately

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lead us to numerous other individuals involved in narcotics trafficking. Accordingly, the
investigation will most assuredly last more than 90 days. Premature disclosure of this
application will potentially result in flight or destruction of evidence, and otherwise jeopardize
the investigation. Therefore, I request that this affidavit be sealed. I further request delayed
notice of 90 days pursuant to 18 U.S.C. 3103(a), with leave to request further delays on good
cause shown.



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   Dated the ___ day of January, 2020 at St. George, Utah




                                               Brady Wilson, Special Agent
                                               Drug Enforcem t Administration




                                              THE ON. PAUL KOHLER
                                              United States Magistrate Judge




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